Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 1 of 22



                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.: 16-cv-21301-GAYLES

   SECURITIES AND EXCHANGE COMMISSION,

              Plaintiff,

   V.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

              Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

              Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

              Additional Receivership Defendantsl


                    RECEIVER'S THIRD INTERIM OMNIBUS APPLICATION FOR
                     ALLOWANCE AND PAYMENT OF PROFESSIONALS' FEES
                          AND REIMBURSEMENT OF EXPENSES FOR
                                           MAY 1, 2017 — AUGUST 31, 2017

   'See   Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No. 60],




   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 2 of 22




          Michael I. Goldberg (the "Receiver"), in his capacity as the court-appointed Receiver for

   Defendants, Jay Peak, Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites

   Phase II, L.P., Jay Peak Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP

   Services, Inc., Jay Peak Golf and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay

   Peak Lodge and Townhouses L.P., Jay Peak GP Services Lodge, Inc., Jay Peak Hotel Suites,

   L.P., Jay Peak GP Services, Inc., Jay Peak Biomedical Research Park L.P., and AnC Bio

   Vermont GP Services, LLC (collectively, "Receivership Defendants") and Relief Defendants Jay

   Construction Management, Inc., GSI of Dade County, Inc., North East Contract Services, Inc.,

   and Q Burke Mountain Resort, LLC (collectively, "Relief Defendants") and Additional

   Receivership Defendants Q Burke Mountain Resort, Hotel and Conference Center, L.P. and Q

   Burke Mountain Resort GP Services, LLC, (collectively "Q Burke Entities" and with the

   Receivership Defendants and the Relief Defendants, the "Receivership Entities") files this

   Second Interim Omnibus Application (the "Application") for Allowance and Payment of

   Professionals' Fees and Reimbursement of Expenses for May 1, 2017 — August 31, 2017 (the

   "Application Period"), and in support, states as follows:

                                          Preliminary Statement

           During the Application Period, the Receiver continued to bring additional assets into the

   Receivership estate and improve the value of and operations of the Receivership Entities, On

   June 30, 2017 [ECF No. 353], the District Court approved the settlement which the Receiver and

   other parties reached with Raymond James & Associates, Inc. ("Raymond James"), whereby

   Raymond James agreed to pay $150 million in exchange for an order barring all claims against

   Raymond James (the "RJ Settlement"). The vast majority of the proceeds of the RJ Settlement

   are earmarked to be applied to pay the claims of the creditors of the Receivership Entities,




                                                     -2    -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 3 of 22



   reimburse investors who will be unable to obtain their citizenship, and provide benefit to other

   investors through improvements to the value of the receivership properties. During the

   Application Period, the Receiver received the settlement proceeds and began implementing the

   terms of the RJ Settlement by paying creditors, reimbursing investors and resuming construction

   projects and other improvements.

          Additionally, the Receiver and his professionals continue to work with the management

   team to improve the value of and operations the Receivership Entities; continue to work with the

   Securities and Exchange Commission to secure and preserve the real and personal properties for

   the benefit of the investors; and continue to analyze claims against third parties. As a result of

   these actions, the Receiver seeks Court approval to pay the sum of $791,246.90 to the

   professionals engaged by the Receiver for fees and reimbursement of $43,143.94 in expenses for

   a total payment of $834,380.68. As more fully described herein the professionals have provided

   valuable services, have billed at significantly reduced rates, and are entitled to reasonable

   payment of their fees and reimbursement of their expenses.

   I.      Background

           On April 12, 2016, the Securities and Exchange Commission ("SEC") filed a complaint

   [ECF No. 1] ("Complaint") in the United States District Court for the Southern District of

   Florida (the "Court") against the Receivership Defendants, Defendant, William Stenger

   ("Stenger") and Defendant Ariel Quiros ("Quiros") (collectively, the "Defendants"), and the

   Relief Defendants, alleging that the Defendants violated the Securities Act of 1933 and the

   Securities Exchange Act of 1934 by among other things, making false or materially misleading

   representations to foreign investors who provided funds to construct properties pursuant to the

   federal EB-5 immigration program.




                                                     -3    -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 4 of 22



           On April 13, 2016, upon the SEC's Motion for Appointment of Receiver [ECF No. 7],

   the Court entered an Order ("Receivership Order") [ECF No. 13] selecting Michael Goldberg as

   the Receiver over the Receivership Defendants and the Relief Defendants (the "Receivership

   Order"). Relevant to this Application, the Receivership Order authorizes the Receiver to appoint

   professionals to assist him in "exercising the power granted by this Order ..." See Receivership

   Order at      li    4. Moreover, the Receiver and his professionals are entitled to reasonable

   compensation from the assets of the Receivership Defendants, subject to approval of the Court.

   See Receivership Order at ¶14.

   II.     Information about Applicant and the Application

           This Application has been prepared in accordance with the Billing Instructions for

   Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

   "Billing Instructions").2 Pursuant to the Billing Instructions, the Receiver states as follows:

           (a)          Time period covered by the Application: May 1, 2017— August 31, 2017

           (b)          Date of Receiver's appointment:                   April 13, 2016

           (c)          Date services commenced:                          April 4, 20163

           (d)          Names and rates of all professionals:             See Exhibit 4(a) — (e)

           (e)          Interim or Final Application:                     Interim

           (0           Records supporting fee application:               See below

           The following exhibits are provided in accordance with the Billing Instructions:

           Exhibit 1:           Receiver's Certification

           Exhibit 2:            Total compensation and expenses



   2 The Standardized Fund Accounting Report for the most recent quarter was filed with the Receiver's Third Interim
   Report [ECF No. 363].
   3 Levine Kellogg Lehman Schneider and Grossman LLP and Kapila Mukamal billed time prior to the official

   appointment of the Receiver, which are not subject to this fee request.


                                                           -4-
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 5 of 22



                           Exhibit 2(a): Total compensation and expenses requested for this
                                         Application

                           Exhibit 2(b): Summary of total compensation and expenses previously
                                         awarded

                           Exhibit 2(c): Amounts previously requested and total compensation and
                                         expenses previously awarded

           Exhibit 3:      Fee Schedule: Names and Hourly Rates of Professionals and
                           Paraprofessionals & Total Amount Billed for each Professional and
                           Paraprofessional:

                           Exhibit 3(a): Akerman LLP

                           Exhibit 3(b): Levine Kellogg Lehman Schneider and Grossman LLP

                           Exhibit 3(c): Kapila Mukamal

                           Exhibit 3(d): Klasko Immigration Law Partners, LLP

                           Exhibit 3(e): Strouse & Bond PLLC

           Exhibit 4:      Time records by professional for the time period covered by this
                           Application, sorted in chronological order, including a summary and
                           breakdown of the requested reimbursement of expenses:

                           Exhibit 4(4): Akerman LLP

                           Exhibit 4(b): Levine Kellogg Lehman Schneider and Grossman LLP

                           Exhibit 4(c): Kapila Mukamal

                           Exhibit 4(d): Klasko Immigration Law Partners, LLP

                           Exhibit 4(e): Strouse & Bond PLLC

   III.    Case Status

           (a)     Cash on hand

           The amount of cash in the Receivership bank accounts as of the date of filing this

   Application is $97,583,591.38. As further described below, much of these funds are earmarked

   to complete a modified construction of Phase VI, to refund or reimburse investors, and to satisfy




                                                       -5-
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 6 of 22



   debt obligations. Moreover, these amounts do not include the funds used to maintain and operate

   the Jay Peak Resort, the Burke Mountain Hotel and related properties. As a result of these

   obligations, the amount of unencumbered funds presently in the receivership bank accounts is

   $3,449,156.80. The Receiver seeks to use the unencumbered funds to satisfy the accrued

   administrative expenses of totals $834,380.68 which is comprised of what is owed to the

   professionals described herein.

          (b)      Summary of creditor claims proceedings

          The Receiver has begun the process of paying undisputed claims of creditors and

   reimbursing investors who do not qualify for citizenship. Previously, the Court authorized the

   Receiver to use funds located frozen bank account to pay certain investors and use a portion of

   the funds from the settlement with Citibank N.A. to pay the undisputed claims of lien of the

   contractors who perfoiiiied construction work on the Burke Mountain Hotel (the "Burke

   Contractors") and on the Phase VI Stateside cottages (the "Stateside Contractors"). The Receiver

   previously made a partial payment to the Stateside Contractors. The Receiver has since used the

   proceeds from the RJ Settlement to pay the remainder of the undisputed claims of the Stateside

   Contractors. The Receiver is distributing the full amount of the undisputed claims of the Burke

   Contractors as he receives releases from the Burke Contractors.

           The Receiver is also utilizing the proceeds of the RJ Settlement to satisfy all principal

   obligations for all Phase I investors; pay all past-due trade debt on the Jay Peak Resort and the

   Burke Mountain Hotel; continue (modified) construction of the Phase VI cottages necessary for

   Phase VI investors to become eligible for permanent residency; provide refunds of all principal

   investments to all remaining Phase VII investors; provide refunds of all principal for up to

   twenty Phase VII investors who, based on current projections, may not be granted permanent

   residency if the requisite number of jobs are not created; and provide refunds of all principal



                                                     -6-
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 7 of 22



   investments to the Phase VIII investors whose 1-526 petitions were denied prior to the

   Receivership Case.

            (c)    Description of assets/liquidated and unliquidated claims held by the Receiver

           In additional to the information provided herein, for detailed information about the assets

   and claims, the Receiver respectfully refers the Court and interested parties to the Status Reports

   filed in this case. The Receiver continues to review potential causes of action against the

   principals of the Receivership Defendants and various third parties. These claims may include

   common law claims and claims under fraudulent transfer statutes. While the Receiver cannot yet

   predict the likelihood, amount or cost-effectiveness of particular claims or the claims as a whole,

   the Receiver continues to diligently evaluate claims against third parties.

   IV.     The Professionals

            (a)    Akerman LLP

           The Receiver is a partner at the law firm of Akerman LLP ("Akerman") and co-chair of

   Akerman's Fraud & Recovery Practice Group. The Receiver has practiced law for twenty-six

   years and specializes in receivership and bankruptcy cases. The Receiver has been appointed

   receiver in more than twenty state and federal receivership cases and has represented receivers

   and trustees in many other cases. The Receiver is working with a team of attorneys and

   paralegals at Akerman to administer this case. Since Akerman employs more than 650 lawyers

   and government affairs professionals through a network of 24 offices, the Receiver has ready

   access to professionals who specialize in litigation, real estate, corporate affairs, public policy

   and other pertinent matters and has used their expertise to administer the receivership estate.

           The Receiver has agreed to reduce his billing rate and the rates of his professionals for

   this case. Instead of their standard billing rates, which range from $440.00 to $725.00, all

   partners are billed at $395.00; associate rates are capped at $260.00; paralegals and



                                                     -7-
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 8 of 22



   paraprofessionals are capped at $175.00, resulting in a blended rate of $278.83. In addition to

   the rate reductions, all time billed to non-working long distance travel is reduced by an additional

   50%.4 These discounts equate to a $235,000.00 reduction from Akerman's standard billing.

   During the period covered by this Application, the Receiver and Akerman billed 1,654.30 hours

   and seek payment of fees in the sum of $461,301.50 and reimbursement of expenses in the sum

   of $21,573.38, for a total of $482,874.88.

           (b)      Levine Kellogg Lehman Schneider + Grossman LLP

           Jeffrey Schneider, a partner at the law firm Levine Kellogg Lehman Schneider +

   Grossman LLP ("LKLSG") provides special litigation and conflicts litigation services for the

   Receiver. Mr, Schneider is a trial lawyer whose practice focuses on complex commercial

   litigation and receiverships. Mr. Schneider has served as a receiver himself in several cases. Mr.

   Schneider has agreed to reduce the rates of his professionals for this case. Instead of the standard

   billing rates of $450.00 to $600.00 per hour, all partners are billed at $250.00 - $260.00 per hour;

   all associates rates are reduced from the standard rates of $325.00 - $375.00 per hour, to $200.00

   per hour; and all paraprofessionals are billed at $125.00 per hour, resulting in a blended rate of

   $223.45. This represents a significant reduction from LKLSG's standard billing rates and a

   $225,000.00 of savings for the receivership estate. During the period covered by this

   Application, LKLSG billed 477.40 hours and seeks payment of fees in the sum of $106,674.50

   and reimbursement of expenses in the sum of $17,757.46 (less a reduction of $10.16 for prepaid

   funds), for a total of $124,421.80.




   4 According to Akerman's invoice attached hereto as Exhibit 4(a), the Receiver and Akerman billed $22,589.00 for
   long distance travel. However, as indicated in Akerman's Fee Schedule attached hereto as Exhibit 3(a), the
   Receiver only seeks payment of 50% ($11,294.50) of that amount.


                                                        -8 -
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 9 of 22



          (c)      Kapila Mukamal

          Soneet Kapila, CPA, and the accounting firm Kapila Mukamal provide accounting and

   forensic work for the Receiver. Mr. Kapila's practice is focused on restructuring, creditors'

   rights, bankruptcy, fiduciary matters and financial transactions litigation. He has conducted

   numerous forensic and fraud investigations, and has worked in conjunction with the SEC, the

   Federal Bureau of Investigation and the United States Attorney's Office. Mr. Kapila is also a

   panel trustee for the United States Bankruptcy Court for the Southern District of Florida.

          Mr. Kapila has agreed to reduce the rates of his professionals in this case to amounts not

   to exceed $395.00 per hour, resulting in a blended rate of $264.69. This represents a savings for

   the Receivership Estate in the approximate sum of $5,000.00. During the period covered by this

   Application, Kapila Mukamal billed 832.10 hours and seeks payment of fees in the sum of

   $207,897.40 and reimbursement of expenses in the sum of $3,207.76, for a total of $211,105.16.

           (d)     Klasko Immigration Law Partners, LLP

           The attorneys of Klasko Immigration Law Partners, LLP ("Klasko") have national

   reputations for cutting-edge immigration law practice, including working with immigrant

   investors applying for permanent residence status through the EB-5 program. Their experience

   working on EB-5 immigrant investor cases includes both representation of pooled investment

   companies and representation of individual investors investing in pooled investment companies,

   approved regional centers and their own companies. They used this experience to assist the

   Receiver and the Investors in providing information to the United States Citizenship and

   Immigration Services ("USCIS") in support of the investors' 1-829 petitions.

           The Klasko attorneys bill at rates from $340.00 to $850.00, but have reduced partners'

   rates to $495.00, resulting in a blended rate of $388.61 per hour for this case. These discounts

   equate to a $5,000.00 reduction from Klasko's standard billing. During the period covered by



                                                     -9-
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 10 of 22



   this Application, Klasko seeks payment in the sum of $15,738,84 for 40.50 hours and

   reimbursement of expenses in the sum of $605.34, for a total of $15,738.84.

           (e)       Strouse & Bond PLLC

           David Bond of Strouse & Bond PLLC in Burlington, Vermont continued to provide legal

   advice to the Receiver regarding Vermont law as applied to contractual matters. Mr. Bond billed

   1.2 hours and seeks payment of fees in the sum of $240.00.

   V.      Summary of Services Rendered During the Application Period

           Summaries of the services rendered during the Application Period are provided below.

   More detailed information is included in the time records attached hereto as Exhibits 4(a) — (e).

           (a)       The Receiver and Akerman LLP

           The Receiver and the Akerman professionals have separated their time into the activity

   categories provided in the Billing Instructions. Narrative summaries of these activity categories

   are provided below.

           Asset Analysis and Recovery

           Asset Analysis and Recovery consists of the identification and review of potential assets

   including causes of action and non-litigation recoveries.

                 •   The Receiver and the Akerman professionals continued to confer with his
                     accountants and analyze documents produced as a result of subpoenas duces
                     tecum directed to financial institutions and third parties whom may be holding
                     receivership assets in order to identify concealed or fraudulently transferred
                     receivership assets and causes of action.

                 •   The Akerman professionals continued to maintain and update the electronic
                     database to store documents produced by financial institutions and recovered from
                     the files of the Defendants.

                 •   As a result of the information gathered by the Receiver, Akerman professionals
                     responded to document requests from government agencies.




                                                    - 10 -
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 11 of 22



               •   The Receiver continued to locate, maintain and preserve real and personal
                   properties purchased by Quiros (with what the Receiver believes with investor
                   funds) until such time as the Court determines the properties are assets of the
                   Receivership Estate. To that end, the Receiver researched outstanding tax,
                   mortgage, lease and maintenance obligations related to the properties. The
                   Receiver conferred with the SEC and Quiros counsel in preparation of an
                   Unopposed Motion to Modify Asset Freeze to Pay Certain Expenses on Real
                   Property Owned or Controlled by Defendant Ariel Quiros for the Benefit of
                   Investors. The Court approved the motion and a second motion seeking to pay the
                   expenses incurred through August 2017 and the Receiver's staff has delivered the
                   payments.

           Asset Disposition

           Asset Disposition relates to sales, leases, abandonment and related transaction work.

               •   The Receiver had previously negotiated (i) an agreement with the Burke
                   Mountain Academy ("BMA") to reduce by $1 million, the $3 million loan owed
                   to BMA, in exchange for expanding the Easement granted to BMA for its students
                   and staff to continue to train on Burke Mountain; (ii) an operating agreement with
                   respect to sharing certain revenue and expenses related to ski racing, the use of
                   training lanes and other hotel amenities by third parties brought to the hotel by
                   BMA; (iii) an amendment to the Easement; and (iv) an agreement with BMA's
                   supporting organization, Burke Racing Inc. to replace the 62 year, old "Poma" ski
                   lift on Burke Mountain, install the ski lift and lease the lift back to the Burke
                   Entities. The Receiver reviewed and revised the agreements and prepared a
                   Motion for Authorization to Enter into Agreements with Burke Mountain
                   Academy and Burke Racing, Inc., which was subsequently approved by the
                   Court.

               •   The Court previously permitted Quiros to sell or mortgage his condominium
                   located in New York City (the "Condominium") in order to use the proceeds of
                   such transaction to pay his living expenses of $15,000 per month. Thereafter, on
                   or about August 13, 2016, Quiros borrowed $1.5 million, payment of which was
                   secured by a first mortgage on the Condominium. Concerned about the maturity
                   date of August 12, 2017, the Receiver and the SEC negotiated with Quiros to turn
                   over the Condominium to the Receiver. The Receiver prepared an Unopposed
                   Motion to Pay off Setai Mortgage Loan by No Later than August 9, 2017. After
                   the motion was approved by the Court, the Receiver paid off the mortgage and
                   real property taxes. Akennan attorneys also prepared the closing documents for
                   satisfaction of the mortgage and transfer of ownership of the Condominium.

               •   As part of the agreement to turn over the Condominium to the Receiver, Quiros
                   also turned over certain properties located in Vermont, referred to as the Bogner
                   and Newport properties. Akerman attorneys prepared the closing documents for
                   transfer of ownership of the Bogner and Newport properties.




   42934927;3
    AKERNIAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 12 of 22



              •    At the time the Receiver was appointed, Phase VI (the "Stateside Project") was
                   partially complete, but work had stopped and the investors who invested in the
                   Stateside Project had little hope of obtaining their green cards. The Receiver has
                   negotiated with the original contractor to resume construction (in a modified
                   form) in order to provide the investors in the Stateside Project with the ability to
                   qualify for citizenship. The Receiver prepared a Motion for Authorization to
                   Enter into a Change Order to the Stateside Construction Contract and a Recreation
                   Center Contract with DEW Construction Corp. and to Recommence Construction
                   of the Stateside Project, which was approved by the Court.

              •    The Receiver and Akerman attorneys negotiated easements with
                   telecommunication providers to locate a cell phone antennae at the Burke
                   Mountain Hotel, in exchange for monthly rent payments.

          Business Operations

          Business Operations cover the issues related to operation of an ongoing business.

               •   The Receiver continues to work with Leisure Hotels & Resorts ("Leisure") to
                   manage the operations of the Vermont-based hotels. The Receiver confers with
                   the Leisure management team on a daily basis and reviews weekly and monthly
                   reports prepared by the management team.

               •   The Receiver has worked on numerous operational issues, including preparing for
                   and a attending tax abatement hearing; working with his accountants on possible
                   restructuring of the Receivership Entities for tax purposes; addressing an
                   employment claim relating to a workers compensation case; and analysis of sales
                   and use tax issues.

           Case Administration

           Case Administration includes coordination and compliance activities, preparation of

   reports and responding to investor inquiries.

               •   The Receiver continues to communicate with government officials, creditors,
                   contractors and interested parties. The Receiver continues to respond to inquiries,
                   usually through e-mail and telephone calls. The Receiver returned to Vermont for
                   meetings with creditors and government officials.

               •   The Receiver and Akerman attorneys analyzed pending EB-5 legislation to
                   deteimine with the legislation addresses relief for defrauded investors. The
                   Receiver and his public policy attorneys traveled to Washington D.C. and met
                   with congressional staff to provide information on his experiences with EB-5
                   fraud.

               •   The Receiver and his staff continue to respond to inquiries from investors,
                   creditors and other interested parties. The Receiver continues to maintain a toll-


                                                    - 12 -
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 13 of 22



                   free investor hotline, an email address for general inquiries, and a website to
                   provide up to date information for investors and interested parties. The Receiver
                   has posted copies of court filings, correspondence with investors and other
                   pertinent information on the website. The Receiver has also prepared and posted
                   numerous updates on his website, including letters to investors.

               •   The Receiver and his staff maintain receivership bank accounts and pay
                   administrative expenses. The Receiver's staff has researched and opened new
                   bank accounts for the purpose of segregating the proceeds of the RJ Settlement
                   and distributing payment to investors, contractors and other creditors.

               •   The Receiver and Akerman work with immigration counsel to respond to
                   inquiries from USCIS, and gathered information regarding job creation in support
                   of the investors' citizenship petitions.

               •   The Receiver also worked with immigration counsel to identify opportunities for
                   AnC Bio investors to redeploy their investment. The Receiver traveled to San
                   Francisco for meetings with immigration lawyers and regional centers to discuss
                   redeployment of ANC Bio investor funds.

               •   The Receiver researched and prepared Status Reports and other reporting
                   requirements.

           Claims Administration and Objections

           Claims Administration and Objections relates to formulating, gaining approval of and

   administering claims procedure.

               •   The Receiver and staff reviewed and verified the claims of the subcontractors and
                   suppliers who worked on construction of the Burke Hotel and drafted release and
                   waiver of lien documents in preparation for payment of the full amount of the
                   undisputed claims.

               •   The Receiver previously made a partial payment to the subcontractors and
                   suppliers who worked on construction of the Stateside cottages. The staff
                   prepared release and waiver of lien documents and coordinated final payment of
                   their undisputed claims.

               •   The Receiver and staff worked with Leisure to verify the claims of trade creditors
                   prior to payment of those claims.

           Employee Benefits/Pensions

           Employee Benefits/Pensions covers issues such as severance, retention, 401K coverage

   and continuance of pension plan.



                                                       - 13 -
   42934927;3
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 14 of 22



                 •   In compliance with ERISA, Akerman attorneys who specialize in employee
                     benefits researched and prepared documents describing eligibility in employee
                     benefits, plan participation rules and length of coverage, commonly referred to as
                     a "Wrap" plan, and also prepared a summary plan description ("SPD") and a
                     cafeteria plan for the employees of the Receivership Entities.

           Litigation/Contested Matters

                 •   The Receiver continued to focus on the RJ Settlement. His staff continued to work
                     on the extensive notice and publication requirements necessary for approval of the
                     RJ Settlement and entry of a bar order in favor of Raymond James. The Receiver
                     reviewed objections to the settlement and conferred with his special counsel and
                     the SEC.

                 •   The Receiver and his attorneys analyzed filings in the case Quiros v. Ironshore
                     Indemnity, Inc., Case No. 16-25073 (the "Ironshore Case"), where Quiros sued his
                     insurer to cover the costs of his legal defense. The Receiver analyzed the
                     insurance claim, reviewed the policies and case law regarding coverage and
                     ownership issues. In order to protect the Receivership interest in the Ironshore
                     policy, the Receiver researched and prepared a Motion to Intervene in the
                     Ironshore Case, which was granted on July 19, 2017. The Receiver subsequently
                     prepared for and attended mediation in the Ironshore Case.

                 •   The Receiver reviewed the claims for payment of attorneys' fees made by Quiros'
                     prior attorneys in the Receivership Case, including their Motion to Intervene in
                     the Receivership Case. When their Motion to Intervene was denied by the Court,
                     Quiros' prior attorneys filed a Notice of Appeal. The Receiver's appellate counsel
                     prepared court filings for appearing in the appellate case. The Receiver analyzed
                     the attorneys subsequent Motion to Modify Asset Freeze for Payment of
                     Attorneys' Fees Based on Changed Circumstances. The Receiver's counsel
                     researched relevant case law and prepared response in opposition to the motion.

                 •   Akerman attorneys who specialize in construction defects litigation worked on the
                     Receiver's claims related to defects in the construction of the duct socks in the
                     water park. Counsel worked with Vermont attorneys regarding causes of action
                     available to the Receiver. Counsel reviewed remediation costs and prepared a
                     mediation demand letter.

           (b)       Levine Kellogg Lehman Schneider and Grossman LLP

                 •   The LKLSG professionals reviewed and analyzed documents produced by various
                     financial institutions, including Raymond James, JP Morgan Chase Bank,
                     Desjardins Bank, Merrill Lynch, Citibank, and Wells Fargo and followed up
                     regarding responses from other financial institutions. The LKLSG researched
                     potential causes of action against financial institutions and worked with the
                     forensic accountants to analyze financial transactions.




                                                     - 14 -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 15 of 22



                 •   The LKLSG professionals worked with the Receiver and the accountants to
                     prepare responses to discovery served on the Receiver by Quiros and analyzed
                     Quiros' responses to discovery served on him.

                 • The LKLSG professionals represented the Receiver in the Raymond James case.
                   The LKLSG professionals worked with the Receiver in preparation of the RJ
                   Settlement documents, including the terms of the Bar Order. The LKLSG
                   professionals engages in numerous conferences with the Receiver and Raymond
                   James' counsel regarding the RJ Settlement and potential objections to the RJ
                   Settlement. In preparation for the hearing on the RJ Settlement, the LKLSG
                   professionals researched case law regarding bar orders. The LKLSG professionals
                   prepared for and attended the hearing on the RJ Settlement.

                 •   The LKLSG attorneys monitored the filings in the receivership case and conferred
                     with the Receiver regarding various filings.

                 •   The LKLSG attorneys analyzed filings in the Ironshore Case. The LKLSG
                     attorneys worked with the Receiver to prepare a complaint and mediation
                     statement in the Ironshore Case and attended mediation with the Receiver.

           (c)       Kapila Mukamal

           Kapila Mukamal ("Kapila" or the "Accountants") separated their time into the activity

   categories provided in the Billing Instructions. Narrative summaries of these activity categories

   are provided below.

           Tax Services

           Tax Services include analysis of tax issues and preparation of tax returns.

                 •   The Accountants analyzed and reviewed work prepared by the Receivership
                     entities' prior accountants for use in preparation of current returns for Burke
                     Mountain operating companies and subsidiaries, Jay Peak operating companies
                     and subsidiaries and the partnership entities; discussed issues relating to
                     preparation of tax returns and gathered needed data, including updating bank
                     reconstructions for tax purposes.

                 •   The Accountants reviewed business records in order to estimate taxable income
                     for extensions of the deadline to file federal and state of Vermont tax returns.

                 •   The Accountants addressed the Notices of Audit received from the IRS, conferred
                     with IRS agents regarding the audit, and gathered the documents requested by the
                     IRS. The Accountants also prepared responses to penalty notices received from
                     the IRS for non-filing or late filing of certain tax returns prior to the Receiver's
                     appointment.



                                                    - 15 -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 16 of 22



                 •   The Accountants researched and prepared a memorandum regarding the benefits
                     of consolidating the Receivership Entities for tax purposes, and conferred with the
                     attorneys and management professionals regarding tax restructuring.

                 •   The Accountants analyzed tax issues for preparation of the 2015 and 2016 tax
                     returns and analyzed historical tax filings and balance sheet accounts to determine
                     changes in reporting.

          Forensic Accounting/Litigation Support

          Forensic Accounting comprises reconstructing books and records from past transactions,

   bringing accounting current, tracing and sourcing assets.

                 •   The Accountants reviewed documents produced by financial institutions and
                     extracted relevant bank statements and supporting documents in order to
                     reconstruct records of transfers of funds. The Accountants prepared an inventory
                     of the document production and compiled reports of additional information
                     needed from financial institutions.

                 •   The Accountants prepared income statement analysis for each Receivership Entity
                     and a consolidated summary of bank records for each Receivership Entity.

                 •   The Accountants developed summaries of operating accounts, cash infused into
                     each partnership and assets purchased with investor funds; analyzed intercompany
                     transfers and the flow of funds and commingling of funds between partnerships
                     and among Receivership Defendants and Relief Defendants; and reconciled
                     investor deposits,

                 •   The Accountants reviewed and gathered records needed to respond to production
                     of documents served on the Receiver.

                 •   The Accountants reviewed credit card statements and set up a credit card
                     statement inventory.

                 •   The Accountants worked with litigation counsel to prepare schedules of
                     disbursements to third parties for potential causes of action.

           (d)       Klasko Immigration Law Partners, LLP

                 •   The Klasko professionals continued to work with the Receiver, the accountants
                     and economists to gather and analyze information needed by the investors for
                     preparation of their 1-829 Petitions and respond to inquiries from the United
                     States Citizenship and Immigration Service ("USCIS"). The Klasko professionals
                     prepared and updated templates for the 1-829 Petitions.

                 •   The Klasko professionals researched and responded to investor inquiries.



                                                    - 16 -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 17 of 22



                 •   The Klasko professionals conferred with the Receiver regarding redeployment
                     options for the ANC Bio investors and researched and prepared memorandum for
                     the Receiver regarding the criteria for redeployment.

                 •   The Klasko professionals advised the Receiver regarding various EB-5 issues
                     including changes to the USCIS Policy Manual and conferred with the Receiver
                     regarding EB-5 legislation.

           (e)       Strouse & Bond PLLC

                 • David Bond reviewed contractual provisions for the Receiver, focusing on
                   Vennont law.

   VI.     Memorandum of Law

           The Receiver and his professionals are entitled to reasonable compensation and expenses,

   pursuant to the Receivership Order. Receivership courts have traditionally determined

   reasonableness by utilizing the familiar lodestar approach, calculating a reasonable hourly rate in

   the relevant market and the reasonable number of hours expended. See, e.g., S.E.C. v. Aquacell

   Batteries, Inc., No. 6:07-cv-608-0r1-22DAB, 2008 WL 276026, *3 (M.D. Fla. Jan 31, 2008); see

   also Norman v. Hous. Auth., 836 F.2d 1292, 1299-1302 (11th Cir. 1988).5 The hourly rates billed

   by the Receiver and his professionals are reasonable for professionals practicing in the Southern

   District of Florida. The Receiver has reduced his standard rate by $300.00 per hour and the rates

   of the Akerman professionals by $215.00 to $50.00 (depending on the individual's standard

   rate). All LKLSG professionals have also reduced their rates by $350.00 to $100.00. These are

   the same hourly rates already approved by the Court in prior fee applications. Moreover, these

   reductions have resulted in a substantial savings to the receivership estate, including $365,000

   during the Application Period,




   5
    The law in this circuit for assessing the reasonableness of fees is set out in Norman v. Hous. Auth. of Montgomery,
   836 F.2d 1292. (11th Cir. 1988). According to Norman, the starting point in determining an objective estimate of the
   value of professional services is to calculate the "lodestar" amount, by multiplying a reasonable hourly rate by the
   number of hours reasonably expended. Id. at 1299 (citing Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933,
   76 L.Ed.2d 40 (1983)).


                                                         - 17 -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 18 of 22



           "In general, a reasonable fee is based on all circumstances surrounding the receivership."

   SEC v. W. L. Moody & Co., Bankers, 374 F. Supp. 465, 480 (S.D. Tex. 1974), affd, 519 F.2d

   1087 (5th Cir. 1975); (" [T]he court may consider all of the factors involved in a particular

   receivership in determining an appropriate fee." Gaskill v. Gordon, 27 F.3d 248, 253 (7th Cir.

   1994). "In determining the amount of their compensation, due consideration should be given to

   the amount realized, as well as the labor and skill needed or expended, and other circumstances

   having a bearing on the question of the value of the services." Sec. & Exch. Comm'n v. Striker

   Petroleum, LLC (N.D. Tex., 2012) citing City of New Orleans v. Malone, 12 F.2d 17, 19 (5th

   Cir. 1926). Part of "determining the nature and extent of the services rendered," however,

   includes an analysis as to the reasonableness of the services rendered, bearing in mind the nature

   of a receivership. As the Supreme Court has noted:

           The receiver is an officer of the court, and subject to its directions and orders . . . .
           [H]e is . . . permitted to obtain counsel for himself, and counsel fees are
           considered as within the just allowances that may be made by the court. . . . So far
           as the allowances to counsel are concerned, it is a mere question as to their
           reasonableness. The compensation is usually determined according to the
           circumstances of the particular case, and corresponds with the degree of
           responsibility and business ability required in the management of the affairs
           intrusted to him, and the perplexity and difficulty involved in that management.

   Stuart v, Boulware, 133 U.S. 78, 81-82 (1890).

           One year into the receivership, the Receiver continues to oversee the operations of the

   two ski resorts and related amenities. The Receiver has used his business judgment to develop

   plans to enhance the operations of the Receivership Entities prior to their sale in order to enhance

   the value of the receivership assets and provide proof of job creation for the benefit of the

   investors. The Receiver has worked cooperatively with Vermont government officials, various

   creditors, counsel and the SEC, with the cooperative goal to create jobs, provide opportunities




                                                        - 18 -
   42934927;3
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 19 of 22



   for investors to obtain citizenship and to pay the claims of creditors. Moreover, the Receiver has

   helped negotiate a $150 million settlement which will fund these objectives.

           In addition to fees, the receiver is "also entitled to be reimbursed for the actual and

   necessary expenses" that the receiver "incurred in the performance of [its] duties." Fed. Trade

   Conim'n v. Direct Benefits Grp., LLC, No. 6:11-cv-1186-0r1-28TBS, 2013 WL 6408379, at *3

   (M.D. Fla. Dec. 6, 2013). The Receiver and his professionals support their claims for

   reimbursement of expenses with "sufficient information for the Court to determine that the

   expenses are actual and necessary costs of preserving the estate." Sec. & Exch. Comin'n v.

   Kirkland, No. 6:06-cv-183-0r1-28KRS, 2007 WL 470417, at *2 (M.D. Fla. Feb. 13, 2007)

   (citing In re Se. Banking Corp., 314 B.R. 250, 271 (Bankr. S.D. Fla. 2004)).

           A receiver appointed by a court who reasonably and diligently discharges his duties is

   entitled to be fairly compensated for services rendered and expenses incurred. See SEC v. Byers,

   590 F.Supp.2d 637, 644 (S.D.N.Y. 2008); see also SEC v. Elliott, 953 F.2d 1560 (11th Cir. 1992)

   (" [I]f a receiver reasonably and diligently discharges his duties, he is entitled to compensation.").

   As more fully described herein and supported by the time records, the Receiver and his

   professionals have reasonably and diligently discharged their duties, and provided a benefit to

   the receivership estate, the investors and creditors.

           WHEREFORE, the Receiver seeks entry of an Order granting this motion and awarding

   the Receiver and his professionals their interim fees, reimbursement of costs, and for such other

   relief that is just and proper.

                                     LOCAL RULE CERTIFICATION

           Pursuant to Local Rule 7.3, the Receiver hereby certifies that he has conferred with

   counsel for the SEC, the plaintiff in this case, who has no objection to the Application. A




                                                    - 19 -
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 20 of 22



   hearing is requested only in the event that someone files an objection thereto.



                                                   Respectfully submitted,

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                                                      Court-Appointed Receiver




                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   October 12, 2017 via the Court's notice of electronic filing on all CM/ECF registered users

   entitled to notice in this case as indicated on the attached Service List.




                                                    By: /s/ Michael I. Goldberg
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                                                    - 20 -
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 21 of 22



                                              SERVICE LIST


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                                                     - 21 -
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Case 1:16-cv-21301-DPG Document 423 Entered on FLSD Docket 10/12/2017 Page 22 of 22



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                                                      24
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